Case 1:17-cr-00532-RBK Document 101 Filed 10/11/19 Page 1 of 1 PageID: 3885




                            UNITED STATES DISTRICT COURT FOR
                                 THE DISTRICT OF NEW JERSEY


 UNITED STATES OF AMERICA,                   )
                                             )
               Plaintiff,                    )        CR #17-532
                                             )
        vs.                                  )        ORDER
  FRANK NUCERA, JR.                          )
                                             )
                                             )
               Defendant                     )


        For administrative purposes, the term of service for the jurors who sat in this

  matter, including alternate jurors, is hereby extended until      ~M \ 30     I   ~oa..o
        IT IS SO ORDERED.

        Dated this     11th         day of       October , 20 ____12.

                                             BY THE COURT:




                                             Hon. Robert B. Kugler, U.S. D.J.
                                             United States District Court
